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     IT IS ORDERED as set forth below:



     Date: April 4, 2023
                                                     ________________________________
                                                                 Paul Baisier
                                                         U.S. Bankruptcy Court Judge

     _______________________________________________________________



                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                               :
                                                     :      CASE NO. 22-56501-PMB
CUREPOINT, LLC,                                      :
                                                     :      CHAPTER 11
               Debtor.                               :
                                                     :
                                                     :
DAVID A. WENDER, in his capacity as                  :
CHAPTER 11 TRUSTEE,                                  :
                                                     :
               Plaintiff,                            :
                                                     :      ADVERSARY PROCEEDING
v.                                                   :
                                                     :      NO. 22-5171
CLG SERVICING LLC,                                   :
                                                     :
               Defendant.                            :
                                                     :

                               ORDER ON RULE 26(f) REPORT

            Upon review of the information contained in the Report of Rule 26(f) Conference filed

 by counsel for the Plaintiff and counsel for the Defendant named above on April 3, 2023 (Docket

 No. 12)(the “Rule 26(f) Report”), which provisions are incorporated herein, it is
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           ORDERED that the time limits and provisions stated in the Rule 26(f) Report are

APPROVED and HEREBY made the Order of the Court. If the parties desire mediation or other

form of alternative dispute resolution, the parties shall file a motion with the Court requesting this

relief.

           The Clerk is directed to serve a copy of this Scheduling Order upon counsel for the

Plaintiff, counsel for the Defendant, and the United States Trustee.

                                   [END OF DOCUMENT]




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